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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 GINA MARINO-KALISH,

                                Plaintiff,              Case No. 1:23-cv-02991

 v.                                                     Honorable John Robert Blakey

 MENARD, INC. d/b/a MENARDS, a                          Honorable Beth W. Jantz
 Wisconsin corporation.                                 Magistrate Judge

                             Defendant.

                                      NOTICE OF MOTION

To:    Donovan S. Fechner
       Kevin A. Halverson
       Shuman Legal
       105 West Adams Street
       28th Floor
       Chicago, IL 60603
       dfechner@shumanlegal.com
       khalverson@shumanlegal.com

       PLEASE TAKE NOTICE that on March 6, 2024 at 11:00 a.m., or as soon thereafter as I

may be heard, I shall appear before the Honorable Judge John Robert Blakey or any judge sitting

in his or her stead in Courtroom 1203 of the United States District Court for the Northern District

of Illinois, Eastern Division, 219 South Dearborn Street, Chicago, Illinois and shall present the

following motion attached hereto:

                   MOTION TO COMPEL PLAINTIFF'S ORAL DEPOSITION




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                                CERTIFICATE OF SERVICE
       I hereby certify that on February 28, 2024, I provided service to the person or persons

listed above by the following means: CM/ECF.

                                                   /s/ Joseph S. Davidson

                                                   W. Anthony Andrews
                                                   Joseph S. Davidson
                                                   Ottosen DiNolfo Hasenbalg & Castaldo, Ltd.
                                                   1804 N. Naper Blvd.
                                                   Suite 350
                                                   Naperville, IL 60563
                                                   (630) 682-0085
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